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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Case:2:21-cr-20189

UNITED STATES OF AMERICA Judge: Hood, Denise Page
MJ: Patti, Anthony P.
Plaintiff, Filed: 03-17-2021 At 04:06 PM
INDI USA V. SEALED MATTER (DA) |
v. VIOLATIONS: 1
21 U.S.C. §§ 846, 841(a)(1), :
D-1 ISRAEL LEE CRUMPTON, and 18 U.S.C. § 922(g)(1)
D-2 JEFFERY EARL SWAIN,
Defendants.
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

Conspiracy to Distribute and Possess with Intent to Distribute Controlled |
Substances — 21 U.S.C. § 846

D-1 ISRAEL LEE CRUMPTON
D-2 JEFFERY EARL SWAIN

From on or about November 2018 to on or about May 2, 2019, in the Eastern
District of Michigan, and elsewhere, the defendants, ISRAEL LEE CRUMPTON
and JEFFERY EARL SWAIN, did knowingly and intentionally combine, conspire,
confederate, and agree with each other and with persons, both known and unknown
to the Grand Jury, to distribute, and possess with intent to distribute, controlled

substances, to wit: a mixture and substance containing a detectable amount of

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fentanyl and a detectable amount of heroin, Schedule II controlled substances; a
mixture and substance containing a detectable amount of cocaine, a Schedule II
controlled substance; and a mixture and substance containing a detectable amount
of cocaine base, a Schedule II controlled substance, in violation of Title 21, United
States Code, Sections 841(a)(1) and 846.

With respect to the defendant ISRAEL LEE CRUMPTON, the controlled :
substances involved in the conspiracy attributable to him as a result of his own |
conduct, and the conduct of other conspirators reasonably foreseeable to him,
included 40 grams or more of a mixture and substance containing a detectable
amount of fentanyl, in violation of Title 21, United States Code, Section
841(b)(1)(B)(vi).

COUNT TWO
Possession with Intent to Distribute Fentanyl/Heroin — 21 U.S.C. § 841

D-1 ISRAEL LEE CRUMPTON
D-2 JEFFERY EARL SWAIN

On or about February 5, 2019, in the Eastern District of Michigan, the
defendants, ISRAEL LEE CRUMPTON and JEFFERY EARL SWAIN, knowingly

and intentionally possessed with intent to distribute a controlled substance, to wit: a

mixture and substance containing a detectable amount of fentanyl and a detectable
amount of heroin, Schedule II controlled substances, in violation of Title 21, United

States Code, Sections 841(a)(1).
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With respect to the defendant ISRAEL LEE CRUMPTON,, it is further alleged
that the controlled substance involved was 40 grams or more of a mixture and
substance containing a detectable amount of fentanyl, in violation of Title 21, United
States Code, Section 841(b)(1)(B)(vi).

COUNT THREE
Possession with Intent to Distribute Cocaine — 21 U.S.C. § 841

D-1 ISRAEL LEE CRUMPTON
D-2 JEFFERY EARL SWAIN

On or about February 5, 2019, in the Eastern District of Michigan, the
defendants, ISRAEL LEE CRUMPTON and JEFFERY EARL SWAIN, knowingly
and intentionally possessed with intent to distribute a controlled substance, to wit: a
mixture and substance containing a detectable amount of cocaine, a Schedule II
controlled substance, in violation of Title 21, United States Code, Sections
841(a)(1).

COUNT FOUR
Possession with Intent to Distribute Cocaine Base — 21 U.S.C. § 841

D-1 ISRAEL LEE CRUMPTON
D-2 JEFFERY EARL SWAIN

On or about February 5, 2019, in the Eastern District of Michigan, the
defendants, ISRAEL LEE CRUMPTON and JEFFERY EARL SWAIN, knowingly
and intentionally possessed with intent to distribute a controlled substance, to wit: a

mixture and substance containing a detectable amount of cocaine base, a Schedule
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II controlled substance, in violation of Title 21, United States Code, Sections
841(a)(1).

COUNT FIVE
Felon in Possession of Firearms — 18 U.S.C. § 922(g)(1)

D-1 ISRAEL LEE CRUMPTON

On or about February 5, 2019, in the Eastern District of Michigan, the

defendant ISRAEL LEE CRUMPTON, knowing that he had been convicted of a
crime punishable by imprisonment for a term exceeding one year, knowingly
possessed firearms, to wit: a (1) Smith & Wesson Shield 9mm handgun; (2) Glock
27 .40 caliber handgun; (3) Cobra CB38 .38 caliber handgun; (4) Smith & Wesson
36 .38 caliber handgun; (5) Hi-Point CF350 9mm handgun; (6) Glock 22 .40 caliber
handgun; (7) Bryco 59 .380 caliber handgun; (8) Ruger Vaquero .44 caliber
handgun; (9) Lorcin L380 .380 caliber handgun; (10) Harrington & Richardson
Young American .32 caliber handgun; and (11) Savage-Stevens Sun City 12 gauge

shotgun, that were shipped and transported in interstate commerce, in violation of

Title 18, United States Code, Section 922(g)(1).

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FORFEITURE ALLEGATIONS
21 US.C. § 853, 18 U.S.C. § 924(d), and 28 U.S.C. § 2461(c)

The above allegations contained in this Indictment are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeiture pursuant to Title 21,
United States Code, Section 853 and Title 28, United States Code, Section 2461(c).

Upon conviction of the Title 21 offenses set forth above in this Indictment,
defendants, ISRAEL LEE CRUMPTON and JEFFERY EARL SWAIN, shall forfeit
to the United States, pursuant to Title 21, United States Code, Section 853 and Title
28, United States Code, Section 2461(c), any property constituting, or derived from,
proceeds obtained, directly or indirectly, as a result of such violations and any
property used, or intended to be used, in any manner or part, to commit, or to
facilitate the commission of, such violations.

The above allegations contained in this Indictment are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeiture pursuant to Title 18,
United States Code, Section 924(d) and Title 28, United States Code, Section
2461(c).

Upon conviction of the offense in violation of Title 18, United States Code,

Section 922(g)(1) set forth above in this Indictment, the defendant ISRAEL LEE

CRUMPTON shall forfeit to the United States, pursuant to Title 18, United States

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Code, Section 924(d) and Title 28, United States Code, Section 2461(c), any firearm

and ammunition involved in or used in the knowing commission of the offense.
THIS IS A TRUE BILL

s/ Grand Jury Foreperson
GRAND JURY FOREPERSON

SAIMA S. MOHSIN
ACTING UNITED STATES ATTORNEY

MATTHEW A. ROTH
Chief, Major Crimes Unit

s/ Paul A. Kuebler

PAUL A. KUEBLER

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Dated: March 17, 2021
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United States District Court Criminal Case Coy Judge: Hood, Denise Page
Eastern District of Michigan ‘Mu: Patti, Anthony P

Filed: 03-17-2021 At 04:06 PM |
NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to com) INDI USA V. SEALED MATTER (DA)

- | Companion Case Number:
This may be a companion case based upon LCrR 57.10 (b)(4)": Judge Assigned:
LJ Yes No AUSA’s Initials: (TR kc

Case Title: USAv. D-1 Israel Lee Crumpton and D-2 Jeffery Earl Swain

County where offense occurred: | Wayne

Check One:  [X]Felony | |Misdemeanor L]Petty |
V_Indictment/ Information --- no prior complaint. |
Indictment/ Information --- based upon prior complaint [Case number: ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].
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Superseding to Case No: Judge:

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.
March 17, 2021 ‘eS (j Huoler
Date Paul A. Kuebler

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E-Mail address: paul.kuebler@usdoj.gov
Attorney Bar #: NY4268561

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.

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